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                                                       U.S. Department ofJustice



   f)                                                  Michael R. Sherwin
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., NW
                                                       Washington, D.C. 20530




                                                       January 19, 2021

Danny Onorato, Esq.

                       Re:     United States v. Adam Chazin
                               Criminal Case No. 21-076 (KBJ)

Dear Counsel:

        This letter sets forth the full and complete plea offer to your client, Adam Chazin
(hereinafter referred to as "your client" or "defendant"), from the Office ofthe United States
Attorney for the District ofColumbia (hereinafter also referred to as "the Government" or "this
Office"). This plea offer expires on February 2, 2021. Ifyour client accepts the terms and
conditions ofthis offer, please have your client execute this document in the space provided
below. Upon receipt ofthe executed document, this letter will become the Plea Agreement
(hereinafter referred to as "this Agreement"). The terms ofthe offer are as follows:

        1.      Charges and Statutory Penalties

         Your client agrees to plead guilty to a criminal Information, a copy ofwhich is attached,
 charging your client with Possession of Child Pornography, in violation of 18 U.S.C.§§
 2252(a)(4)(B) and (b)(2); Possession ofUnregistered Firearm, in violation of7 D.C. Code,
§ 2502.0l(a)); and Attempted Possession ofa Large Capacity Ammunition Feeding Device, in
 violation of22 D.C. Code§ 1803, 7 D.C. Code§ 2506.0l(b)).

        Your client understands that a violation of18 U.S.C.§ 2252(a)(4)(B) carries a maximum
sentence of20 years ofimprisonment; a fine of$250,000 or twice the pecuniary gain or loss of
the offense, pursuant to 18 U.S.C.§ 3571; a term of supervised release ofat least 5 years but not
more than life, pursuant to 18 U.S.C.§ 3583; mandatory restitution under 18 U.S.C.§ 3663A;
and an obligation to pay any applicable interest or penalties on fines and restitution not timely
made.

      Your client understands that a violation of7 D.C. Code,§ 2502.0l(a)) carries a potential
maximum penalty of1 year imprisonment and/or a $2,500 fine.
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